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         ŧѧƸ‫ߔشس‬Ũ‫ݦ‬ӭ‫ص‬ʴѨߔ‫ض‬ξƹҿӀߔֶ‫חͦכ‬ȥߔƺߔӄ՚‫ڿ‬ϲߔΛ‫ߔל‬ƻ‫;ފؠ¦ט‬ѩߔΜ‫ۀߔם‬οʵߔ‫ط‬ʶܼܽӂʷӅʸ‫ہ‬ĀߔƼӮ ߔ98ƈߔ‫ޕ‬тҙҚߔ
  ӯ՛‫ߔۂ‬Ë՗¨ʹƽ‫ظ‬,ӰɈѪ޵ߔު‫ۃ‬ruѫɺߔϳ‫ۄ‬¹ߔ ɉ՜ӱ‫ʺع‬Ӳ‫ۆߔۅ‬՝ߔ ‫ۇ‬πʻߔ ӆ՞‫ۈ‬zӳĜߔ Ʋρʼߔ Ɩ<‫מ‬њ‫ ߔغ‬Ȕ‫`؝‬ʽߔ ‫ۉ‬՟ߔ ַָؐ͟ȡʾߔ șUߔ
  ʿ΍ˀɊϴƷ‫=ߔܬ‬Ӵ޶ߔՠ‫ۊ‬ςͭߔVɋ‫ݧ‬ˁӵ‫ߔػۋ‬ÐϰϵɌrߔ‫ߔ˂ן‬ӶYYV˃ɻߔ‫ی‬աߔȠֹ‫ؼߔ˄݂ߔ ދء‬Ç‫ܡ‬Ѭ Ӈͪ‫ߔۍ‬Țɼߔɽ϶‫ؽ‬ӈϷ‫ߔ˅݃ߔؿؾ‬
  ƎȌ‫ـޖ‬Í‫ێ‬ĝߔ :σˆߔӉբÂϸգߔ‫ف‬τ>қߔȪˇߔΗѭˈɾߔӷߔѮ?2ˉ‫ߔנ‬2yDߔƐƾ޷ߔŀāߔņİŁŝĞߔ

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         èÿ    ŹƿɍsߔƗȓјÃϹ΁΂ߔ‫ˊס‬ѯˋǀ®ˌ‫ߔق‬Ӹɿߔʀу‫ڷ‬Ɏυ@‫ت‬.ߔ¾φˍߔƤˎѰǁ‫ك‬ZʁߔƘǂ‫ܪؤ‬Ϻ͠‫ߔڸ‬Υդӊߔț޸ߔǃӹʂߔȕ
  ũѱǄϻ ‫ߔل‬QՊʃߔŵȖǅΫˏ‫ߔم‬é ‫݄ߔن‬ե‫ه‬ːߔa‫ע‬Ӌ‫ߔو‬Ȣ[ߔʄ\ΘӺˑʅߔAȫզ‫]ތ‬ôĂߔѢɶ&‫ކ‬ϼӻάߔަџ݅է‫ߔ¿ݨ‬Ѳ%ϽÊ=Êћ+Ӽߔ݆ը‫ߔ˒ى‬
  ݇BߔÐ^˓ߔ ¡‫ߔף‬ɏթ‫ݩ‬ѳʆߔ χȨ_ߔȬ ͣߔ‫{ߔͧ¯|פ‬ӽߔ݈`ߔƍȒÑ°ÌϾ‫ ߔץߔۏ‬ȭaΝ‫צ‬bߔ ǆӾ޹ߔɐ‫ ߔקߔܾبޅ‬έ‫¨˔ލ‬Ֆ˕ӿ‫ߔې‬
  Ǉι͡Ԁɑ޺ğߔ

          ñɅõ      źǈɒψߔƙѴǉэ‫ݛ‬Ύߔ‫©ͫר‬j‫˖ي‬ԁ‫ߔݠ‬O ߔ‫ޗ‬Ǌ‫د‬ȜÀًߔ݉ȧߔժߔ‫ܭ‬s^‫ڻ­˗ֺߔؗ‬իԂߔլ‫˘ߔש‬ԃ‫ߔݥݜ‬ωٌߔȝ޻
  ‫_؟˙ۑ‬0‫}ߔے‬Րăߔ+‫ߔת‬ǋ½ٍμӌ˚Ԅ‫ߔۓ‬խ΅ߔ ޼ߔŪKϿӍَߔ,‫ߔ׫‬ŶȘIή¶ߔ݊ǌ‫ߔ۔‬ϊ˛ߔ ‫ߔ׬‬ϋdߔӎǍ޽ߔόȩ˜ߔ ίǎЀԅ±‫ߔە‬Ȟ޾ߔ
  ƥ˝ѵfُk!ߔƚȦ޿ߔȟʇߔީфɷύߔώ˞ߔªߔِϏ˟ߔԆծ‫͢׭ߔޘ‬ҜgG²ˠّߔюՑߔۖtˡі«ߔͤ)Àќ‫׮‬ˢۗ߀ĄߔˣޫɓͬۘߔΞ«ߔ ūѶMºْߔ Ŭկ‫ٓއ‬eҝĪߔ

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           êCö      ƃߔ‫ׯ‬ˤѷЁ(ɔ˥ߔհԇߔǏԈʈߔЂߔɕԉٔЃʉ˦-ܰzձߔΟ‫ױߔ˧݋ߔװ‬c§‫˨ٕة‬Ԋܿ‫ݝ‬ղԋٖąߔ‫ۙؚؖޙ‬Єٗߔ<'ʊ
  ɖճ‫ގ‬ZԌǐ՘ ٘ߔ մͯߔy˩ߔ ƛѸDЅ)‫ܩ‬ІΏ/ߔ ٙ˪ۚߔΠ‫ ߔݙئ‬яߔ‫݌‬Їٚߔ Şκ‫ˬ˫ؘ‬ӏ\ԍ¿Ęߔ Ʀ7Ƅߔ‫ޚ‬Ҟҟߔ ֻ ߐߔ‫ۛߔ˭ݍ‬յ‫ܫ‬ѹߔ ‫ھ‬Ӑߔ նͰߔ
  ÙŖœĆıĲĳĠĴĵćߔѐߔۜϐdߔǑӑ¢‫۝ވ‬ٛߔǒՕUߔշԎߔR߁ߔ‫ݎ‬ˮߔʋE۞ٜߔٝ۟˯ʌߔȮ˰Ѻո‫ߔޛ‬Јԏߔ¥Ǔ‫؛‬Eΰ‫ּ؜‬ϑ¯ߔëS÷ę ìʍøĈߔFԐʎߔ
  ·ϭǔ&&ߔȯߔЉԑɸҠÍٞЊ‫ߔ˱ޏ‬չͱߔǕҡҢߔٟ˲۠ۡѻ˳˴'ۢߔֽǖÔө˵ۣ٠ߔ  ۤϒ˶ߔƜѼǗ|ԒÈ{ΐ١ߔ ȍʏߔǘ‫ؑݞۥ‬Ո˷Ó٢ßߔ ·˸٣ĉߔ ɗ٤‫ۦ‬٥Ċߔ
  ˹ެ‫˺־‬ԓ٦˻²ߔíȰպ‫ۧߔݏ‬Ϭִ0˼ߔЋԔɘ‫"؞ײݪ‬ʐߔۨջߔʑǙ۩˽ߔȎWߔ‫ݐ‬ռ٧ ߔ۪սߔȱ˾ߔЌԕəÏ‫˿ر‬ʒùċߔȲÌ ߔeޭɚѽ‫ݫ‬٨Ѝ‫ސ‬fߔͲߔӬѾվ߂g‫ߓ׳‬
  ٩Ўʓ̀ߔֿǚ߃ѿҀߔ۫Ǜޮo٪ߔî۬ϓ́ߔÕſؕտ٫ߔƧ ܸ ҁ̂Ӓ̃Ԗۭߔşӓր‫ݬ‬ԗ‫ۮ‬Öú4ߔƳuߔǜӔց‫ݭ‬Ԙ‫ۯ‬٬ߔ‫٭‬ϔւÑԙߔԚߔŻޯxьSЏ ߔŠߔȣ̄ߔ
  ȳAhʔߔփԛߔ̅ǝTϕߔƝ҂ъԜܱ~Α‫ߔٮ‬ʕǞӕǟq[‫ ߔٯ‬Аߔ‫"̆ޜ‬Ѥٰߔʖ‫ؒݮ‬хԝαߔ‫ޝ‬ϖБɛϗߔƞ҃ВԞ۰Г΃΄‫ߔٱ‬ǠңҤ̇phߔǡߔ‫ޑ‬Дք҄ȑ‫ܨ‬Еօԟߔͳġߔ
  ÁϘ̈ߔ ۱Ж‫ׁ ߔ׀‬ֆҥ4ߔ ž‫ݑ ߔ״‬#ߔ ׂև‫׵‬Зֈ(ߔ ʹߔƟ҅ǢёՒ۲ИΒ1àߔ ³̉‫ͥͩ҆ݡ‬۳ߔ ‫آ׃‬ɜ̊̋ʗ‫ݒ ߔٲ‬ǣ3ߔ T։¸۴Й‫ݣ‬۵̌ߔ ‫ޞ‬β̍‫ٳ‬Čߔ
  #Өֵׄ҇ߑ̎̏Ě‫ڼ‬љʘ̐ߔ۶Ǥް̑´ߔ‫ٴ‬ϙǥҦҧߔȴ̒ߔ‫ޟ‬К‫ݚ‬$̓҈ʙߔCʚߔ‫ׅ‬ǦЛXߔΦӖߔÁϚ̔ߔƀ֊‫ߔٶٵ‬ƨiܹÄ#ӗiՏ۷ߔšӫ‫ܢ'ރ‬īߔ

         òɆû     ƴ֋ߔ‫ܮ‬v̕ߔŭӃ/‫ߔٷ‬Ƒ̖Әȵ̗ؓ‫ڹ‬čߔƩ8Ɖߔǧγ‫̙̘׶‬µߔ‫׆‬G߄ߔ‫ߔ̚ݓ‬ν֌‫ߔٹٸ‬Hә֍‫ݯ‬۸ߔ͵ÚňŗĎŜŔŕĢĶķď
  ђ*ߔ۹vߔȗ֎‫݀@ٺߔ¶ބ‬ʛߔМԠߔż޳ϱНȶО‫ߔۺ‬6ߔïӚ̛ߔ×ƪ̜ܺ҉̝ӛ̞ԡ‫ߔۻ‬ŦÒǨ‫׷‬ʜØüģߔ ƫƋߔ‫ں‬xǩҨҩߔП·‫ٻ‬Î̟ߔ̠BɝϛߔŮǪ‫ߔٽټ‬
  ƒ̡Ӝȷ̢‫ ߔ׸‬ԢߔɞϜ̣ɟѥߔΡ‫ۼ ߔ׹‬$ߔǫ Î‫ߔ۽‬- Κ̤ɠ]ʝߔРԣߔŽ޴t}ȸ~‫ߔ۾‬6ߔ΢‫̥ ߔ׺‬ǬɡϝߔůҊǭ‫ߔٿپ‬Ɠ̦ӝȹͮĤߔ :ϫ̧ߔ
  ɢϞ̨ɣѦµߔ‫ڀ‬ϟ ҪҫߔȺߔС‫ځ‬1‫ݰ‬jʞߔȻÔߔƬƅߔާѠ‫ߔۿݱ֏ݔ‬ʟ̩ʳɤ‫܀‬цֳԤߔ>*!ߔƭ7ߔިѡҬҭߔТ‫ߔ̪ݲڃڂ‬ǮĐߔƶŇߔܵߔ̫ɹߔŰҋI®¸ߔ
  ƔӞR̬‫׻‬ĥߔ

          ðߔɥý   Ƃ(ߔ ǯʠʡУÂФ ԥߔ ‫ݕ ߔ֐܁‬kߔ Ʈ̭‫ܴ܂‬Ӂ̮ӟ̯Ԧ‫ ߔ܃‬Ţߔ‫ޠ‬ȤW‫ ߔ̰ݖ  ߔڄ‬űҌǰ¹‫ ߔڅ‬ƕ̱Ӡȼ̲-±ߔ ‫܄چ‬J‫̳܅‬ʢߔ Хԧ
  ¦λ©Ȑ‫ז‬Ϡߔóɇþߔ ǱȽ֑‫̴ޒ‬đߔ 9Ɗߔ‫ڇ‬wǲҮүߔ‫ׇ‬ǳ߅ߔƠҍǴЦԨ2ѝΓ‫ڈ‬áߔ ɦ֒‫ݳ‬ԩ‫ډ‬nҎߔÛŉŘĒłōŎĦĸĹߔ‫ ߔڊ‬¥ߒӪ̵ՙÅߔѓߔΨҰұߔͶߔ
  ŲҲȋ‫ ߔڋ‬ų ‫ݴ‬Ԫ‫̶ڌ‬ҳç‫ڎ߆̷ث֓ݢ ߔڍ‬âߔ Έ̸‫ ߔڏ‬Kԫʣߔ ɧ֔º‫ ߔڐ܆‬ЧԬɨ‫ݵ‬Քě̹ʤߔ Шԭߔ ‫܇‬ϡ̺ߔ ŷЩ‫ ߔ֕܈ ߔ׼¡ ߔ݁ݶ׈ڑ‬Ⱦ̻ߔ ЪԮɩ‫׾׽ݷ‬c ߔ
  Ϣ ‫̼׿‬єՓLΧ̽‫ߔ؀‬H1ߔ§ªÆߔͷߔ֖ȿ‫ ܉‬ыԯЫδߔŴ¢‫إݸ‬Éߔţ‫؁׊׉‬£‫ޓ‬ǵҏߔ֗͸ߔ‫ݗ‬Ь‫ߔڒ‬Ư̾‫ܤܣ‬Ґ̿ӡ̀԰‫ߔ܊‬Lʱį֘‫ߔ؂‬ʲ‫ړ‬ӢЭ‫´ڔ‬Ƕґߔ֙͹ߔ‫܋‬ϣЮ‫ߔڕ‬
  ҒǷ‫ݹ»ޡ‬Я‫ܥ‬Ĭߔ ưƌߔǸp‫)ߔ¼́؃‬¤‫ߔ֚܍ߔ܌‬£‫ߔ͂ږ֛׌׋‬ơғǹаԱ܎бΔ°ãߔ؄l‫ݘߔ܏ڗ"ݺי‬Ǻ‫ ߔܐ‬Ϯ߇ߔɀ̓ߔ‫ޥ‬M؅ʥ̈́ʦߔ ÜŊřėŅ5ŏħĺĻߔN‫ߔژ‬
  ɪ֜ӣ‫ͅ׍‬Բ‫ܑ ڙ‬в֝Գߔ Σ؆ߔ‫ܯ‬ϯ͆ї‫ ߔؙ‬؇͇ ‫֞ښ‬ԴǻɁҔߔ JXߔ Եmɫ͈‫ؔܓܒߔزڜڛ‬Չ͉߈‫ڝ‬äߔ Ή͊‫; ߔڞ‬Ջʧߔ ɬ+‫ڟ‬.ߔ гԶɭ‫ذݻ‬nʨߔдԷߔ
  ‫ݼڠމ׎‬еԸεߔ ¾w ߔ Ə?‫ڡޢ‬ÏжÈĭߔ ƁԹߔ ֟ߔ ‫͋ޔ‬Ժ‫ڢ ߔܔ‬ϤҴҵߔ ƢҕǼѕ‫ܕ‬зΕ‫ ߔڣ‬؈‫ ߔڤݽך‬ȏՌߔ ǽ‫ޣ‬O¬ʩߔ ֠ͺߔɮ‫ڥ‬Ã½ߔ ʪߔ ͻͨ‫ߔڦ‬
  l‫ޱ‬ɯ͌b!ѣqߔÝŋŚēŃ5ŐĨļĽĔߔʫߔǾԻ߉ߔ‫׏‬Ë‫͍¬֡אا‬ʬߔN‫ޤ‬P؉ʭߔ֢ͼߔΊ͎.ߔFՍʮߔɰ֣‫ߔڧܖ‬иߔ͏޲ɱ͐‫ߔکڨ‬¤ͽÞŌśĕńőŒĩľĿߔ
  ‫ڪ‬ϥǿҶҷߔԼ‫ݾ‬ҸҹйΪߔ‫ܗ‬ϦкߔŤζ؊͑͒Ӥ͓Խ‫ܦ‬Įߔ Ƶϧ͔ߔܻÉ֤‫ګߊ͕ج‬åߔ΋͖‫ ߔڬ‬ȀԾʯߔɲ֥‫ڭ‬/ߔ‫ב‬QлʰߔɂߋߔƱƆƇߔ‫ݿג‬؋‫ހڮ‬ȁԿ‫ߔݟߔܘ‬3$мߔ
  ťη­͗͘ӥ͙Հ‫گߔܙ‬ϨȂҺһߔɳ֦Ձ³ܲ%‫ܚݤ‬mߔΩҼҽߔ‫ڰ‬ȃ‫ܛ‬%»Άɴܳўߔ֧΀ч‫֨ߔܜ‬ɃҾшθ Äн֩Ղ‫דߔ֪ܝߔڱ‬ȄߌߔȅӦ,‫*ށ‬Å‫ߔڲ‬Æ֫ߔՎߍߔ‫أ͚ה‬0֬ՃĖߔ
  P3‫͛ح֭ܞ‬Óߔ֮،ߔҖȆÒߔΙ‫؍‬ӧߔΤ؎ߔȇÇܶ‫خ‬oߎ¼æߔΌ͜‫ߔ؏֯ߔڳ‬ɵְ‫ߔڽܷڴ‬оՄߔ‫ܟ‬ϩп‫ߔڵ‬Ÿр‫ֱߔ͝ܠނוڶ‬ՅߔɄ͞ϪȈҗ;ߔֲͿߔȉՆߏߔƣҘȊсՇ‫ܧ‬щΖߔ




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